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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:15−cr−00260
                                                           Honorable Jorge L. Alonso
Roderick Groetzinger, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 5, 2018:


         MINUTE entry before the Honorable Jorge L. Alonso as to Roderick Groetzinger:
Sentencing hearing held and continued to 9/6/18 at 2:00 p.m. Notices mailed by judge's
staff (ntf, )




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